            Case 1:18-cv-09629-VEC Document 3 Filed 10/19/18 Page 1 of 1



COWAN, LIEBOWITZ & LATMAN, P.C.
Jonathan Z. King (jzk@cll.com)
Eric J. Shimanoff (ejs@cll.com)
114 West 47th Street
New York, New York 10036
(212) 790-9200
Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


CAR-FRESHNER CORPORATION and
JULIUS SÄMANN LTD.,

                             Plaintiffs,                    Civil Action No. 1:18-cv-09629

       v.

BALENCIAGA AMERICA, INC.,

                             Defendant.


              FED. R. CIV. P. 7.1 CORPORATE DISCLOSURE STATEMENT

       Plaintiffs CAR-FRESHNER CORPORATION and JULIUS SӒMANN LTD. state that

there is no parent corporation or publicly held corporation that owns 10% or more of their stock.

Dated: October 19, 2018                      Respectfully submitted,

                                             COWAN, LIEBOWITZ & LATMAN, P.C.

                                             By:    s/ Jonathan Z. King
                                                    Jonathan Z. King (jzk@cll.com)
                                                    Eric J. Shimanoff (ejs@cll.com)
                                             114 West 47th Street
                                             New York, New York 10036
                                             (212) 790-9200
                                             Attorneys for Plaintiffs




29887/041/2527811
